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                       Roche EPIC Stipulation Exhibit A



              NDC         Drug
              00004001814 TICLID 250MG TABLET
              00004001822 TICLID 250MG TABLET
              00004002828 NAPROSYN 125MG/5ML SUSPEN
              00004012101 BUMEX 1MG TABLET
              00004014301 ROCALTROL 0.25MCG CAPSULE
              00004014323 ROCALTROL 0.25MCG CAPSULE
              00004014401 ROCALTROL 0.5MCG CAPSULE
              00004015549 ACCUTANE 10MG CAPSULE
              00004015649 ACCUTANE 40MG CAPSULE
              00004016103 FANSIDAR 500/25 TABLET
              00004016949 ACCUTANE 20MG CAPSULE
              00004017202 LARIAM 250MG TABLET
              00004018022 CARDENE SR 30MG CAPSULE SA
              00004018091 CARDENE SR 30MG CAPSULE SA
              00004018122 CARDENE SR 45MG CAPSULE SA
              00004018191 CARDENE SR 45MG CAPSULE SA
              00004018222 CARDENE SR 60MG CAPSULE SA
              00004021357 SORIATANE 10MG CAPSULE
              00004021457 SORIATANE 25MG CAPSULE
              00004022001 HIVID 0.375MG TABLET
              00004022101 HIVID 0.750MG TABLET
              00004023709 KYTRIL 2MG/10ML SOLUTION
              00004023909 KYTRIL 1MG/ML VIAL
              00004024009 KYTRIL 1MG/ML VIAL
              00004024126 KYTRIL 1MG TABLET
              00004024133 KYTRIL 1MG TABLET
              00004024515 INVIRASE 200MG CAPSULE
              00004024648 FORTOVASE 200MG SOFTGEL CAP
              00004025001 VESANOID 10MG CAPSULE
              00004025901 CELLCEPT 250MG CAPSULE
              00004025905 CELLCEPT 250MG CAPSULE
              00004025943 CELLCEPT 250 MG CAPSULE
              00004026001 CELLCEPT 500MG TABLET
              00004026043 CELLCEPT 500MG TABLET
              00004026129 CELLCEPT 200MG/ML ORAL SUSP
              00004026201 DEMADEX 5MG TABLET
              00004026301 DEMADEX 10MG TABLET
              00004026401 DEMADEX 20MG TABLET
              00004026501 DEMADEX 100MG TABLET
              00004026706 DEMADEX 10MG/ML AMPUL
              00004026806 DEMADEX 10MG/ML AMPUL
              00004026948 CYTOVENE 250MG CAPSULE
              00004027848 CYTOVENE 500MG CAPSULE
              00004027922 KLONOPIN WAFERS 0.125MG
              00004028022 KLONOPIN WAFERS 0.25MG
              00004028122 KLONOPIN WAFERS 0.5MG
              00004028222 KLONOPIN WAFERS 1MG
              00004028322 KLONOPIN WAFERS 2MG
              00004028857 SORIATANE 10MG CAPSULE
              00004028957 SORIATANE 25MG CAPSULE
              00004080085 TAMIFLU 75MG GELCAP
              00004081095 TAMIFLU ORAL SUSPENSION
              00004100328 GANTRISIN PED 500MG/5ML SUS
              00004110020 XELODA 150 MG TABLET
              00004110051 XELODA 150MG TABLET
              00004110116 XELODA 500MG TABLET
              00004110150 XELODA 500MG TABLET
              00004193508 FUDR 500MG VIAL
              00004196201 ROCEPHIN 250MG VIAL
              00004196202 ROCEPHIN 250MG VIAL
              00004196301 ROCEPHIN 500MG VIAL
              00004196302 ROCEPHIN 500MG VIAL
              00004196401 ROCEPHIN 1GM VIAL
              00004196402 ROCEPHIN 1 GM PIGGYBACK
              00004196404 ROCEPHIN 1GM VIAL
              00004196405 ROCEPHIN ADD-VANTAGE 1GM VL
              00004196501 ROCEPHIN 2GM VIAL



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              NDC         Drug
              00004196502 ROCEPHIN 2GM PIGGYBACK
              00004196505 ROCEPHIN ADD-VANTAGE 2GM VL
              00004196801 BUMEX 0.25MG/ML VIAL
              00004197101 ROCEPHIN 10GM VIAL
              00004198809 ROFERON-A 6MMU/ML VIAL
              00004201209 ROFERON-A 36MMU/ML VIAL
              00004201507 ROFERON-A 3MMU/0.5ML KIT
              00004201509 ROFERON-A 3MMU/0.5ML KIT
              00004201607 ROFERON-A 6MMU/0.5ML KIT
              00004201609 ROFERON-A 6MMU/0.5ML KIT
              00004201707 ROFERON-A 9MM UNITS/0.5ML KIT
              00004201709 ROFERON-A 9MMU/0.5ML KIT
              00004592001 TASMAR 100MG TABLET
              00004592101 TASMAR 200MG TABLET
              00004620001 ANAPROX DS 550MG TABLET
              00004620201 ANAPROX 275MG TABLET
              00004641601 EC-NAPROSYN 500MG TABLET EC
              00004692506 TORADOL IV/IM 15MG/ML VIAL
              00004692606 TORADOL IV/IM 30MG/ML VIAL
              00004692709 TORADOL IV/IM 30MG/ML VIAL
              00004694003 CYTOVENE 500MG VIAL
              00004911500 ROCALTROL 1MCG/ML ORAL SOLN
              00029415105 KYTRIL 1MG TABLET
              00029415139 KYTRIL 1MG TABLET
              18393025642 EC-NAPROSYN 500MG TABLET EC




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